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                                                                 No.19‑697T
                                                      (Filed:Scptembcr 13,2019)
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DESSIE ANDttWS,

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                V.


THE UNITED STATES,
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                                                                    ORDER

        On August 14,2019, the court ordered plaintiff to either pay the filing fee or submit a
completed application to proceed in forma pauperis by no later than September 6,2019. In that
order, the court explained that her failure to pay the fee or submit the application may result in
the court dismissing the case for failure to prosecute. Plaintiff did not pay the fee or file her
application by the deadline. Accordingly, the court DISMISSES plaintiff s case for failure to
prosecute pursuant to Rule 41(b) of the Rules of the United States Court of Federal Claims.

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